                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff,       )
                                                )    Case No. 09-00319-01-CR-W-FJG
v.                                              )
                                                )
LAMBERTO MEDEL-TAPIA,                           )
                                                )
                               Defendant.       )


                       MEMORANDUM OF MATTERS DISCUSSED AND
                        ACTION TAKEN AT PRETRIAL CONFERENCE

PENDING CHARGE:
On October 20, 2009, the Grand Jury returned a one count indictment against defendants
Lamberto Medel-Tapia and Clemente Raya1. The indictment charges that between on or about
March 1, 2009, and on or about October 14, 2009, defendants Medel-Tapia and Raya conspired
to distribute one kilogram or more of heroin.

The following matters were discussed and action taken during the pretrial conference:

TRIAL COUNSEL:
     Government: Catherine Connelly and Patrick Daley
     Case Agent: DEA SA Kyle Beach
     Defense: John Lozano

OUTSTANDING MOTIONS: None

TRIAL WITNESSES:
     Government: 10 with stipulations
     Defendant: 0 witnesses (may call Government witnesses); defendant may testify

TRIAL EXHIBITS:
     Government: 4 exhibits
     Defendant: 0 exhibits for defendant

All exhibits are to be marked individually and numerically with no letters or subparts.



       1
           Defendant Raya entered a guilty plea on March 23, 2010.


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DEFENSES: General denial

POSSIBLE DISPOSITION:
          (X) Definitely for trial; ( ) Possibly for trial; ( ) Likely a plea will be worked out

TRIAL TIME: 2 days
     Government’s case including jury selection: 1 ½ days
     Defense case: 2 -2 ½ hours

STIPULATIONS: Exhibit #4: Lab Report; Stipulation as to the transfer and delivery of
document but not the contents.

UNUSUAL QUESTIONS OF LAW: None

FILING DEADLINES:

       Witness and Exhibit List
       Government: Have been filed
       Defense: To be filed by May 11, 2010
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: Noon, Wednesday, June 2, 2010
       Please Note: Jury instructions must comply with Local Rule 51.1

       Motion in Limine: Motions to be filed by May 21, 2010; Oppositions by May 28, 2010.

TRIAL SETTING: Criminal jury trial docket commencing June 7, 2010.
     Please note: Government counsel requested second week of the docket. Defense counsel
     has no objection.

IT IS SO ORDERED.


                                                     /s/ Sarah W. Hays
                                                       SARAH W. HAYS
                                             UNITED STATES MAGISTRATE JUDGE




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